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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           MIAMI DIVISION

  ROSE CARINE THEVENIN

         Plaintiff,
  v.
  FLORIDA MEMORIAL UNIVERSITY, INC

        Defendant.
  _________________________________/

                       COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff, ROSE CARINE THEVENIN, by and through her undersigned counsel, sues the

  Defendant, FLORIDA MEMORIAL UNIVERSITY, INC., and alleges as follows:

                                  JURISDICTION AND VENUE

         1.       This is an action for damages and to remedy violations of the rights of MS.

  THEVENIN under the Americans with Disabilities Act of 1990, as amended, including the ADA

  Amendment Act of 2008 (“ADA”), the Florida Civil Rights Act of 1992, as amended (“Chapter

  760” or “FCRA”), and the Family and Medical Leave Act of 1993 (“FMLA”), 29 U.S.C. §§ 2601,

  et seq to redress injuries done to her by the Defendant, FLORIDA MEMORIAL UNIVERSITY,

  INC.

         2.      The unlawful acts which gave rise to this Complaint occurred within Miami-Dade

  County, Florida during the Plaintiff’s employment with Defendant, making venue proper in this

  District pursuant to 28 U.S.C. § 1391.

                                                PARTIES

         3.      At all times material hereto, Plaintiff has been a citizen and resident of Miami-Dade

  County, Florida and is otherwise sui juris.

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         4.      At the relevant time, Plaintiff was a disabled woman, and, as such, Plaintiff is a

  member of a protected class under the ADA and Chapter 760 because the terms, conditions, and

  privileges of her employment were altered because of her disability.

         5.      At all times material hereto, Plaintiff was an individual who had rights under the

  Family and Medical Leave Act of 1993 (“FMLA”), 29 U.S.C. §§ 2601.

         6.      Defendant is not a government agency. At all times material hereto, Defendant was

  Plaintiff’s employer as defined by law.

         7.      Defendant has, at all times material hereto, employed 20 or more employees for

  each working day in each of twenty or more calendar weeks in the current or preceding year in

  accordance with the ADA and FCRA (42 U.S.C. §2000e(b); Fla. Stat. § 760.02(7)).

         8.      At all times material hereto, Defendant was a covered employer within the meaning

  and contemplation of the FMLA, 29 U.S.C. §2611(4)(A), in that it employed more than 50

  employees within a 75-mile radius in each calendar year.

         9.      Plaintiff was qualified for FMLA leave in that she had worked more than 1250

  hours for Defendant in a twelve (12) month period immediately preceding her application for

  FMLA leave.

         10.     Plaintiff has exhausted her administrative remedies by filing a timely charge of

  discrimination against the Defendant with the Equal Employment Opportunity Commission,

  which was dually filed with the Florida Commission on Human Relations.

         11.     Plaintiff’s charge was filed within 300 days after the first instance of discrimination

  occurred.




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         12.     Plaintiff was issued a Notice of Right to Sue on April 30, 2023. This suit is filed in

  accordance with that Notice and within the applicable ninety (90) day limitations period (a copy

  of the Notice is attached hereto as Exhibit “A”).

         13.     The Florida Commission on Human Relations did not issue a finding on Plaintiff’s

  charge within 180 days of the filing of said charge.

                  GENERAL ALLEGATIONS COMMON TO ALL COUNTS

         14.     Defendant hired Plaintiff in August 2001 as an Assistant Professor of History and

  College Historian. In 2006, the Defendant promoted the Plaintiff to Associate Professor of History.

         15.     As an Associate Professor of History, Plaintiff’s primary duties and responsibilities

  included teaching courses, mentoring, committee assignments, and student advisement.

         16.     Plaintiff was qualified for her position as the Associate Professor of History based

  on her experience and training.

         17.     On August 30, 2021, as the Plaintiff was driving home from work, she was involved

  in a motor vehicle accident. The Plaintiff suffered a significant back injury limiting her mobility

  long-term. The next morning, the Plaintiff notified Ms. Youseline Poteau, Director of Human

  Resources, Dr. Frederick Hunter, Department Chair, and Dr. Samuel Darko, Dean of School of

  Arts and Sciences, that she was involved in an accident and required medical attention. The

  Plaintiff informed them that she notified her students that she would hold class online and assured

  them that the accident would not interfere with her ability to teach her courses and would not

  interfere with the learning process of her students. Ms. Poteau, Dr. Hunter, and Dr. Darko

  responded that they hoped the Plaintiff recovered soon. The Plaintiff began teaching her courses

  online just as she had during the Covid-19 pandemic.




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         18.     In mid-September 2021, the Plaintiff requested FMLA leave as a reasonable

  accommodation and provided her medical records and other supporting materials to Ms. Toni

  Clarke, Human Resources Coordinator.

         19.     A few days later, Dr. Darko asked the Plaintiff when she was going to return to in-

  person teaching. The Plaintiff responded that she was doing the best she could and would notify

  him of any changes.

         20.     About one week after the Plaintiff requested FMLA leave, she contacted Ms. Clarke

  to inquire as to the status of her FMLA leave request. Ms. Clarke informed the Plaintiff that her

  FMLA leave had been approved, but she would need to continue to work until October 8, 2021

  before going on leave for the remainder of the Fall 2021 semester.

         21.     The Plaintiff then emailed Dr. Hunter and Dr. Darko to inform them about the

  approval of her FMLA leave. Dr. Hunter responded that the Plaintiff was “disrupting departmental

  functions” and “inconveniencing” the department and the students. The Plaintiff responded that

  she was not disrupting anything and that if the Defendant needed a replacement, they could contact

  Mr. Timothy Barber, an Adjunct Professor who previously covered the Plaintiff’s classes. After

  this email exchange, the Defendant abruptly removed the Plaintiff’s online teaching access to all

  of her courses and also removed her students’ ability to access her courses online. Students were

  unable to access course materials, assignments, and exams.

         22.     The next business day, Dr. Hunter told the Plaintiff to email her students and

  instruct them to physically report back to class on campus where they would meet their new

  instructors (Dr. James Mauer and Timothy Barber) for the remainder of the semester. The Plaintiff

  emailed her students as directed.




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         23.     The following day, Dr. Hunter told the Plaintiff that Human Resources had not yet

  approved Mr. Barber to take over the Plaintiff’s course instruction. The Plaintiff informed him that

  she already emailed the students based on his prior instructions. After students contacted Dr.

  Jacqueline Hill, Provost, about the problems, Dr. Hill said that the students were confused and did

  not know what was going on. The Plaintiff told Dr. Hill that the Defendant terminated her online

  teaching access and student online access to her courses, which impeded completion of student

  assignments. Upon learning this information, Human Resources reiterated the October 8, 2022

  date FMLA leave start date. Dr. Hill directed the Defendant’s IT and Cyberzone to reinstate online

  access for the Plaintiff’s students and the Plaintiff, allowing her to work remotely until October 8,

  2021. The Plaintiff worked until that date and was scheduled to return to work in January 2022.

         24.     In early December 2021, the Plaintiff’s doctors recommended that she continue her

  physical therapy and other treatments. The Plaintiff informed Ms. Clarke, Dr. Hunter, and Dr.

  Darko that she would need additional leave beyond January 2022. In response, Dr. Hunter

  suggested that the Plaintiff implement an alternating schedule – working one week on campus and

  one week remotely. The Plaintiff’s physician submitted paperwork that an alternating schedule

  was not acceptable because of medical complications related to her disability. Ms. Clarke emailed

  the Plaintiff that she was aware that the Plaintiff’s department accommodated her with a rotating

  schedule, but that she refused the accommodation. The Plaintiff again submitted her paperwork

  and requested an unpaid leave of absence for the Spring 2022 semester. Ms. Clarke said that the

  Defendant needed the Plaintiff’s physician to complete additional forms by the end of January or

  beginning of February 2022. Ms. Clarke said that if the Plaintiff did not submit the additional

  paperwork, the Defendant would deem it job abandonment. Ms. Clarke also said that the Plaintiff’s

  5YS7fkx%iZDz FMLA leave ended in November 2021 despite the Plaintiff not having started her



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  leave until October and Defendant having previously approved her FMLA leave until January

  2022.

          25.    Despite the fact that the Plaintiff submitted completed paperwork in December

  2021 and yet again in January 2022, the Defendant sent the Plaintiff a third set of the same

  paperwork to be completed by her physician. On February 18, 2022, the Plaintiff’s physician sent

  the Defendant correspondence via fax informing the Defendant that she would return to work in

  August 2022.

          26.    Less than a week later, the Plaintiff contacted Human Resources to let them know

  that the most recent set of paperwork the Defendant provided to the Plaintiff’s physician was

  illegible. The Plaintiff asked them to send another set of paperwork, which they did. The

  Plaintiff’s physician completed the paperwork and faxed it back to the Defendant.

          27.    On March 1, 2022, Ms. Clarke sent the Plaintiff a letter of separation terminating

  her employment because she purportedly failed to provide the Defendant with any medical updates

  in February. Later that same day, Ms. Clarke told the Plaintiff to disregard the termination letter.

  A few minutes later, Ms. Clarke emailed the Plaintiff again telling her to disregard the termination

  letter. Despite this retraction, the Defendant terminated the Plaintiff’s benefits effective February

  28, 2022.

          28.    On March 14, 2022, Ms. Clarke emailed the Plaintiff a separation letter terminating

  her employment because the Defendant allegedly could no longer accommodate the Plaintiff’s

  requests for an unpaid leave of absence for the Spring 2022 semester. This is despite the fact that

  the Defendant was more than halfway through the spring semester, the Plaintiff was not a summer

  instructor, and she repeatedly informed the Defendant that she would return to in person teaching

  in August 2022 for the fall semester.



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          29.     Plaintiff has engaged the undersigned attorney to prosecute her claims and is

  entitled to recover her attorney’s fees from Defendant pursuant to statute.

    COUNT I: VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
                                     (“ADA”)
                     (Discrimination on the Basis of Disability)

          30.     Plaintiff incorporates herein the allegations contained in paragraphs 1 through 29,

  inclusive, as though same were fully re-written here.

          31.     The ADA forbids discrimination based on disability; prohibiting discrimination in

  employment, public services, public accommodations, and telecommunications.

          32.     Plaintiff has a disability as that term is defined under the ADA, and, therefore, is a

  member of the protected class.

          33.     At all relevant and material times, Defendant failed to comply with the ADA, which

  states in relevant part: (1) to provide a clear and comprehensive national mandate for the

  elimination of discrimination against individuals with disabilities; (2) to provide clear, strong,

  consistent, enforceable standards addressing discrimination against individuals with disabilities;

  (3) to ensure that the Federal Government plays a central role in enforcing the standards established

  in this chapter on behalf of individuals with disabilities; and (4) to invoke the sweep of

  congressional authority, including the power to enforce the fourteenth amendment and to regulate

  commerce, in order to address the major areas of discrimination faced day-to-day by people with

  disabilities.

          34.     At all times relevant hereto, Defendant regarded Plaintiff as an individual with a

  disability and/or an individual with a record of having a disability.

          35.     At the time of the unlawful discrimination and ultimate termination, Plaintiff did

  perform and excel at the performance of the essential functions assigned to her by Defendant.



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         36.     Plaintiff was qualified for the position.

         37.     Defendant is a large institution, and therefore is a sophisticated employer who has

  actual knowledge of the requirements of the ADA, as amended.

         38.     The failure of Defendant to adhere to the mandates of the ADA was willful and

  their violations of the provisions of the ADA were willful.

         39.     The Defendant accused the Plaintiff of inconveniencing and disrupting the

  department and the students, temporarily removed the Plaintiff’s online access to her courses,

  continued to put pressure on her to return to teaching in person full time, and falsely accused her

  of not providing sufficient medical updates, claimed her FMLA leave had expired when it had not,

  and denied her request for an unpaid leave of absence; thus failing to engage in the interactive

  process; and ultimately terminating her employment. All of this demonstrates the Defendant’s

  lack of adherence to its purported policy against discrimination and failure to comply with the law

  on disabilities and reasonable accommodations.

         40.     Any allegedly nondiscriminatory reason for the Defendant’s failure to reasonably

  accommodate Plaintiff and ultimately terminate her employment is a mere pretext for the actual

  reasons for the failure to reasonably accommodate and for Defendant’s termination of Plaintiff;

  inter alia Plaintiff’s disability and request for a reasonable accommodation.

         41.     Upon information and belief, the Defendant allows non-disabled employees to use

  their benefits, including leave, without terminating them.

         42.     As a result of Defendant’s violation, Plaintiff has suffered damages.

         43.     As a direct and proximate result of the intentional and discriminatory acts and

  practices of the Defendant, and/or its employees, Plaintiff suffered injury and continues to suffer

  injury including past and future loss of income and other employment benefits, emotional pain and



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  suffering, mental anguish, humiliation, loss of enjoyment of life, embarrassment, damage to her

  reputation, and other past and future pecuniary losses.

         WHEREFORE, Plaintiff hereby requests this Court grant Plaintiff judgment against

  Defendant to compensate her for past and future pecuniary losses, including back pay, front pay,

  lost benefits, compensatory damages, injury to her professional reputation, emotional pain and

  suffering for the embarrassment, anxiety, humiliation, and emotional distress caused by

  Defendant’s discriminatory treatment, and punitive damages in an amount to be determined at trial

  and in accordance with the ADA; attorney’s fees, costs, prejudgment and post judgment interest,

  and such other and further relief as this Court deems just and appropriate.

         COUNT II: VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT OF 1992
                       (Discrimination on the Basis of Disability)

         44.     Plaintiff incorporates herein the allegations contained in paragraphs 1 through 29,

  inclusive, as though same were fully re-written here.

         45.     The FCRA forbids discrimination on the basis of race, color, religion, sex,

  pregnancy, national origin, age, handicap, or marital status and thereby to protect their interest in

  personal dignity, to make available to the state their full productive capacities, to secure the state

  against domestic strife and unrest, to preserve the public safety, health, and general welfare, and

  to promote the interests, rights, and privileges of individuals within the state.

         46.     Plaintiff has a disability as that term is defined in the FCRA, and therefore, is a

  member of a protected class.

         47.     At all relevant and material times, Defendant failed to comply with the FCRA.

         48.     At all times relevant hereto, Defendant regarded Plaintiff as an individual with a

  disability and/or an individual with a record of having a disability.




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         49.     At the time of the unlawful discrimination and ultimate termination, Plaintiff did

  perform and excel at the performance of the essential functions assigned to her by Defendant.

         50.     The failure of Defendant to adhere to the mandates of the FCRA was willful and its

  violations of the provisions of the FCRA were willful.

         51.     Defendant, through its practices and policies as an employer, willfully, and with

  malicious or reckless disregard of Plaintiff’s protected rights, discriminated against Plaintiff by

  terminating her on account of her disability in violation of the FCRA.

         52.     The Defendant accused the Plaintiff of inconveniencing and disrupting the

  department and the students, temporarily removed the Plaintiff’s online access to her courses,

  continued to put pressure on her to return to teaching in person full time, and falsely accused her

  of not providing sufficient medical updates, claimed her FMLA leave had expired when it had not,

  and denied her request for an unpaid leave of absence; thus failing to engage in the interactive

  process; and ultimately terminating her employment. All of this demonstrates the Defendant’s

  lack of adherence to its purported policy against discrimination and failure to comply with the law

  on disabilities and reasonable accommodations. .

         53.     Any allegedly nondiscriminatory reason for the Defendant’s failure to reasonably

  accommodate Plaintiff and ultimately terminate her employment is a mere pretext for the actual

  reasons for the failure to reasonably accommodate Plaintiff; inter alia Plaintiff’s disability.

         54.     Upon information and belief, the Defendant allows non-disabled employees to take

 time off without terminating them.

         55.     Defendant’s actions were malicious and were recklessly indifferent to Plaintiff’s

  rights protecting persons from discrimination and termination due to her disability. Termination

  on the basis of disability constitutes unlawful discrimination.



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         56.     As a result of Defendant’s violation of the FCRA, Plaintiff has suffered damages.

         57.     As a direct and proximate result of the intentional and discriminatory acts and

  practices of the Defendant, and/or its employees, Plaintiff suffered injury and continues to suffer

  injury including past and future loss of income and other employment benefits, emotional pain and

  suffering, mental anguish, humiliation, loss of enjoyment of life, embarrassment, damage to her

  reputation, and other past and future pecuniary losses.

         WHEREFORE, Plaintiff hereby requests this Court grant Plaintiff judgment against

  Defendant to compensate her for all past and future pecuniary losses, including back pay, front

  pay, lost benefits, compensatory damages, injury to her professional reputation, emotional pain

  and suffering for the embarrassment, anxiety, humiliation, and emotional distress caused by

  Defendant’s discriminatory treatment, and punitive damages in an amount to be determined at trial

  and in accordance with the FCRA; attorney’s fees, costs, prejudgment and post judgment interest,

  and such other and further relief as the Court deems just and appropriate.

                                COUNT III: VIOLATION OF ADA
                                         (Retaliation)

         58.     Plaintiff incorporates herein the allegations contained in paragraphs 1 through 29,

  inclusive, as though same were fully re-written here.

         59.     Plaintiff suffered from a disability as that term is defined under the ADA.

         60.     At all times relevant hereto, Defendant regarded Plaintiff as an individual with a

  disability and/or an individual with a record of having a disability.

         61.     Defendant is an employer as that term is defined under the ADA.

         62.     Plaintiff had the right to request a reasonable accommodation.

         63.     When the Plaintiff engaged in the protected activity of requesting a reasonable

  accommodation, the Defendant retaliated against her by terminating her employment.

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         64.     As a result of Defendant’s violation, Plaintiff has suffered damages.

         65.     Defendant’s actions were malicious and were recklessly indifferent to Plaintiff’s

  rights protecting persons from discrimination due to her disability.

         66.     As a direct and proximate result of the intentional and discriminatory acts and

  practices of the Defendant, and/or its employees, Plaintiff suffered injury and continues to suffer

  injury including past and future loss of income and other employment benefits, emotional pain and

  suffering, mental anguish, humiliation, loss of enjoyment of life, embarrassment, damage to her

  reputation, and other past and future pecuniary losses.

         WHEREFORE, Plaintiff hereby requests this Court grant Plaintiff judgment against

  Defendant to compensate her for past and future pecuniary losses, including back pay, front pay,

  lost benefits, compensatory damages, injury to her professional reputation, emotional pain and

  suffering for the embarrassment, anxiety, humiliation, and emotional distress caused by

  Defendant’s discriminatory treatment, and punitive damages in an amount to be determined at trial

  and in accordance with the ADA; attorney’s fees, costs, prejudgment and post judgment interest,

  and such other and further relief as this Court deems just and appropriate.

        COUNT IV: VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT OF 1992
                                (Retaliation)

         67.     Plaintiff incorporates herein the allegations contained in paragraphs 1 through 29,

  inclusive, as though same were fully re-written here.

         68.     Plaintiff had the right to request a reasonable accommodation.

         69.     When the Plaintiff engaged in the protected activity of requesting a reasonable

  accommodation, the Defendant retaliated against her by terminating her employment.

         70.     As a result of Defendant’s actions, Plaintiff has suffered damages.




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         71.     Defendant’s actions were malicious and were recklessly indifferent to Plaintiff’s

  rights protecting persons from discrimination due to her disability.

         72.     Plaintiff is entitled to such affirmative relief as may be appropriate, including, but

  not limited to, lost wages, benefits, and compensation for emotional distress, pursuant to the

  provisions of the FCRA, Chapter 760.

         WHEREFORE, Plaintiff hereby requests this Court declare that Defendant’s termination

  of Plaintiff was unlawful retaliation in violation of the FCRA, grant Plaintiff judgment against

  Defendant to compensate her for all past and future pecuniary losses, including back pay, front

  pay, lost benefits, compensatory damages, injury to her professional reputation, emotional pain

  and suffering for the embarrassment, anxiety, humiliation, and emotional distress caused by

  Defendant’s discriminatory treatment, and punitive damages in an amount to be determined at trial

  and in accordance with the FCRA; attorney’s fees, costs, prejudgment and post judgment interest,

  and such other and further relief as the Court deems just and appropriate.

                                COUNT V: FMLA RETALIATION

         73.     Plaintiff incorporates herein the allegations contained in paragraphs 1 through 29,

  inclusive, as though same were fully re-written here.

         74.     Plaintiff had the right to request FMLA leave.

         75.     The Plaintiff qualified for FMLA leave.

         76.     The Defendant terminated Plaintiff in retaliation for taking FMLA leave.

         77.     Plaintiff’s termination constituted an adverse employment action.

         78.     Plaintiff’s action in requesting her FMLA leave was “protected activity” under the

  FMLA.




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         79.     Plaintiff’s request for FMLA leave was, at a minimum, a motivating factor in

  Defendant’s decision to terminate Plaintiff’s employment.

         80.     Defendant’s purported reason(s), if any, for terminating Plaintiff’s employment are

  pretextual.

         81.     As a direct result of her termination, Plaintiff has suffered, and will continue to

  suffer a loss of wages, employment benefits, and other compensation denied or lost to her by reason

  of Defendant’s violation. Defendant’s conduct was not done in good faith, and Plaintiff is therefore

  entitled to liquidated damages in an amount equal to her loss of wages salary, employment benefits,

  and other compensation.

         82.     Plaintiff is entitled to an award of her reasonable attorney’s fees and costs incurred

  in this action pursuant to 29 U.S.C. §2617(a)(3).

         WHEREFORE, Plaintiff hereby requests this Court grant Plaintiff judgment against

  Defendant for her lost wages, employment benefits, and any other compensation denied or lost to

  Plaintiff by reason of Defendant’s violation of the FMLA, liquidated damages, equitable relief as

  this Court deems appropriate, Plaintiff’s costs, expert witness fees, and attorney’s fees,

  prejudgment and post judgment interest, and such other and further relief as the Court deems just

  and appropriate.




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                                    DEMAND FOR JURY TRIAL

  Plaintiff demands a trial by jury on all issues so triable.

                                                  Respectfully submitted this 17th day of July 2023

                                                  By: s/Michelle Cohen Levy
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